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                          UNITED STATES DISTRICT COURT                        FILED
                          WESTERN DISTRICT OF KENTUCKY                   JAMES J. VILT, JR. - CLERK
                                  AT LOUISVILLE
                                                                                JAN 2 2 2025
UNITED STATES OF AMERICA                                               ' ~~s., DISTRICT COURT
                                                                      lVE.sTN. DIST l{r: ,r,, ,,
                                                             SUPERSEDING INDICTMENT J UC,·\ y
V.
                                                             NO. 3:25-CR-2~       DTI-l
                                                                 18 u.s.c. § 2
SUKHJIT BAINS (1, 2, 3, 5, 7-11)                                 18 U.S.C. § 922(g)(l)
JONATHAN ERNSPIKER (1, 2, 4, 6)                                  18 u.s.c. § 922(0)
CHRISTOPHER GARDNER (7, 12, 13)                                  18 U.S.C. § 924(a)(2)
                                                                 18 U.S.C. § 924(a)(8)
                                                                 18 U.S.C. § 924(c)(l)(A)
                                                                 18 U.S.C. § 924(d)
                                                                 18 U.S.C. § 933(a)
                                                                 18 U.S.C. § 933(a)(l)
                                                                 18 U.S.C. § 933(a)(3)
                                                                 18 U.S.C. § 933(b)
                                                                 18 U.S.C. § 934
                                                                 21 U.S.C. § 841(a)(l)
                                                                 21 U.S.C. § 841(b)(l)(B)
                                                                 21 u.s.c. § 853
                                                                 26 u.s.c. § 5841
                                                                 26 U.S.C. § 5861(d)
                                                                 26 u.s.c. § 5871
                                                                 28 U.S.C. § 2461

The Grand Jury charges:

                                          COUNT I
                                    (Firearms Trafficking)

       On or about November 20, 2024, in the Western_ District of Kentucky, Jefferson County,

Kentucky, SUKHJIT BAINS and JONATHAN ERNSPIKER, transferred and otherwise

disposed of a firearm and did conspire and attempt to do so, that is: a Smith and Wesson, model

M&P 9L, 9 millimeter semi-automatic pistol, bearing serial number HNL4745; a Smith and

Wesson, model SD9VE, 9 millimeter semi-automatic pistol, bearing serial number HER2934; a

Taurus, model PT145 Pro, .45 caliber semi-automatic pistol, bearing serial number NFU74319; a
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Smith and Wesson, model SW380, .380 auto semi-automatic pistol, bearing serial number

RAB0402; a SCCY, model CPX-2, 9 millimeter semi-automatic pistol, bearing serial number

C216699; a Kahr, model CW9, 9 millimeter semi-automatic pistol, bearing serial number YD6450;

a Glock 23, .40 caliber semi-automatic pistol, bearing serial number EDW632US; DMPS model

A-15, 5.56 caliber semi-automatic rifle, bearing serial number FH217837; a Diamondback model

DB-15, multi-caliber semi-automatic rifle, bearing serial number DB-1814188; a Charter Arms

model Pathfinder 22, 22LR revolver bearing serial number 1104646; a Smith and Wesson, model

10, .38 caliber revolver, bearing serial number 73228; a privately made, 3D printed semi-automatic

pistol, bearing no markings or serial number; a Beretta, model PX4 Storm, 9 millimeter semi-

automatic pistol, bearing serial number PX0201N; a Taurus, model G2C, .40 caliber semi-

automatic pistol, bearing serial number ABK017972; a Ruger model LCP, .38 caliber semi-

automatic pistol, bearing serial number 3723 50968; a Rock Island Armory, model 1911, .45 caliber

semi-automatic pistol, bearing serial number RIA2179788; a Ruger model LC9S, 9 millimeter

semi-automatic pistol, bearing serial number 327-63052; a Smith and Wesson, model M&P 45

Shield, .45 caliber semi-automatic pistol, bearing serial number JBT6585 and ammunition, to

Witness # 1, in and otherwise affecting commerce, knowing and having reasonable cause to believe

that the use, carrying, or possession of the firearm by Witness #1 would constitute a felony.

       In violation of Title 18, United States Code, Sections 933(a)(l), (a)(3), and 933(b).



The Grand Jury further charges:

                                            COUNT2
                               (Distribution ofMethamphetamine)

       On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, SUKHJIT BAINS and JONATHAN ERNSPIKER, aided and abetted by each other


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and others, knowingly and intentionally distributed fifty (50) grams or more of a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, as defined in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(B), and Title

18, United States Code, Section 2.



The Grand Jury further charges:

                                         COUNT3
             (Possession ofa Firearm in Furtherance ofa Drug Trafficking Crime)

       On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, SUKHJIT BAINS, did knowingly possess a firearm in furtherance of a drug trafficking

crime for which he may be prosecuted in a court of the United States.

       In violation of Title 18, United States Code, Section 924(c)(l)(A).



The Grand Jury further charges:

                                         COUNT4
             (Possession ofa Firearm in Furtherance ofa Drug Trafficking Crime)

       On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, JONATHAN ERNSPIKER, did knowingly possess a firearm in furtherance of a drug

trafficking crime for which he may be prosecuted in a court of the United States.

       In violation of Title 18, United States Code, Section 924(c)(l)(A).




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The Grand Jury further charges:

                                          COUNTS
                       (Possession ofa Firearm by a Prohibited Person)

       On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, SUKHJIT BAINS, knowingly possessed, in and affecting commerce, a firearm, that

is, a Charter Arms model Pathfinder 22, 22LR revolver, bearing serial number 1104646; a Smith

and Wesson, model 10, .38 caliber revolver, bearing serial number 73228; a privately made, 3D

printed semi-automatic pistol, bearing no markings or serial number; a Beretta model PX4 Storm,

9 millimeter semi-automatic pistol, bearing serial number PX0201N; a Taurus model G2C, .40

caliber semi-automatic pistol, bearing serial number ABK0l 7972; a Ruger model LCP, .38 caliber

semi-automatic pistol, bearing serial number 372350968; a Rock Island Armory model 1911, .45

caliber semi-automatic pistol, bearing serial number RIA2179788; a Ruger model LC9S, 9

millimeter semi-automatic pistol, bearing serial number 327-63052; a Smith and Wesson model

M&P 45 Shield, .45 caliber semi-automatic pistol, bearing serial number JBT6585 and

ammunition, with knowledge that he had previously been convicted in a court of a crime

punishable by imprisonment for a term exceeding one year, to wit:

       On or about November 28, 2018, in the United States District Court for the Western
       District of Kentucky, in case number 3: 17-CR-174-Dlli, SUKHJIT BAINS was
       convicted of the offenses of possession of a firearm and ammunition by a convicted
       felon and possession with intent to distribute methamphetamine; and

       On or about March 28, 2017, in Jefferson Circuit Court, Jefferson County,
       Kentucky, in case number 16-CR-2284, SUKHJIT BAINS was convicted of the
       offenses of wanton endangerment in the first degree, tampering with physical
       evidence, and possession of a controlled substance in the first-degree
       methamphetamine (two counts).

       In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).




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The Grand Jury further charges:

                                          COUNT6
                       (Possession ofa Firearm by a Prohibited Person)

       On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, JONATHAN ERNSPIKER, knowingly possessed, in and affecting commerce, a

firearm, that is, a Smith and Wesson model M&P 9L, 9 millimeter semi-automatic pistol, bearing

serial number HNL4745; a Smith and Wesson model SD9VE, 9 millimeter semi-automatic pistol,

bearing serial number HER2934; a Taurus model PT145 Pro, .45 caliber semi-automatic pistol,

bearing serial number NFU743 l 9; a Smith and Wesson model SW380, .380 auto semi-automatic

pistol, bearing serial number RAB0402; a SCCY model CPX-2, 9 millimeter semi-automatic

pistol, bearing serial number C216699; a Kahr model CW9, 9 millimeter semi-automatic pistol,

bearing serial number YD6450; a Glock model 23, .40 caliber semi-automatic pistol, bearing serial

number EDW632US; DMPS model A-15, 5 .56 caliber semi-automatic rifle, bearing serial number

FH217837; a Diamondback model DB-15, multi-caliber semi-automatic rifle, bearing serial

number DB-1814188 and ammunition, with knowledge that he had previously been convicted in

a court of a crime punishable by imprisonment for a term exceeding one year, to wit:

       On or about May 26, 2017, in Bullitt Circuit Court, Bullitt County, Kentucky, in
       case number l 7-CR-12, JONATHAN ERNSPIKER was convicted of the offenses
       of convicted felon in possession of a firearm, and possession of a controlled
       substance in the first degree methamphetamine;

       On or about November 4, 2013, in Bullitt Circuit Court, Bullitt County, Kentucky,
       in case number 13-CR-105, JONATHAN ERNSPIKER was convicted of the
       offense of fleeing or evading police in the first degree;

       On or about November 4, 2013, in Bullitt Circuit Court, Bullitt County, Kentucky,
       in case number 13-CR-104, JONATHAN ERNSPIKER was convicted of the
       offense of manufacturing methamphetarnine in the first degree;

       On or about May 3, 2013, in Bullitt Circuit Court, Bullitt County, Kentucky, in case
       number 12-CR-231, JONATHAN ERNSPIKER was convicted of the offense of


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       trafficking in a controlled substance in the first degree greater than two grams of
       methamphetamine; and

       On or about October 1, 2008, in Bullitt Circuit Court, Bullitt County, Kentucky, in
       case number 08-CR-97, JONATHAN ERNSPIKER was convicted of the offense
       of criminal mischief in the first degree.

       In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



The Grand Jury further charges:

                                            COUNT?
                                      (Firearms Trafficking)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, SUKHJIT BAINS and CHRISTOPHER GARDNER transferred and otherwise

disposed of a firearm and did conspire and attempt to do so, that is: a privately made .300 Blackout,

semi-automatic rifle, bearing no serial numbers, equipped with a silencer; a Del-Ton model DTI-

15, 5.56 millimeter semi-automatic pistol, bearing serial number B90313; a Cobray model M-

11/Nine, 9 millimeter semi-automatic pistol, bearing serial number XX-XXXXXXX; a Smith and

Wesson model M&P 380 Shield EZ, .380 auto semi-automatic pistol, bearing serial number

NFV4228; a Glock model 43X, 9 millimeter semi-automatic pistol, bearing serial number

BLYG103; a Glock model 45, 9 millimeter semi-automatic pistol, bearing serial number

CAWG241; a 3D printed Glock type machine gun conversion device bearing no serial number,

and ammunition, to Witness # 1 and Witness #2, in and otherwise affecting commerce, knowing

and having reasonable cause to believe that the use, carrying, or possession of the firearm by

Witness # 1 would constitute a felony.

        In violation of Title 18, United States Code, Sections 933(a) and (b).




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The Grand Jury further charges:

                                           COUNT8
                             (Illegal Possession ofa Machine Gun)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, SUKHJIT BAINS, did knowingly possess or transfer a machine gun, that is, a 3D

printed Glock type machine gun conversion device bearing no serial number.

       In violation of Title 18, United States Code, Sections 922(0), and 924(a)(2).



The Grand Jury further charges:

                                          COUNT9
                       (Possession ofa Firearm by a Prohibited Person)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, SUKHJIT BAINS, knowingly possessed, in and affecting commerce, a firearm, that

is, a privately made .300 Blackout, semi-automatic rifle, bearing no serial number, equipped with

a silence; a Del-Ton model DTI-15, 5.56 millimeter semi-automatic pistol, bearing serial number

B90313; a Cobray model M-11/Nine, 9 millimeter semi-automatic pistol, bearing serial number

XX-XXXXXXX; a Smith and Wesson model M&P 380 Shield EZ, .380 auto semi-automatic pistol,

bearing serial number NFV4228; a Glock model 43X, 9 millimeter semi-automatic pistol, bearing

serial number BLYG 103; a Glock model 45, 9 millimeter semi-automatic pistol, bearing serial

number CAWG241; a 3D printed Glock type machine gun conversion device bearing no serial

number, and ammunition, with knowledge that he had previously been convicted in a court of a

crime punishable by imprisonment for a term exceeding one year, to wit:

       On or about November 28, 2018, in the Western District of Kentucky, in case
       number 3: 17-CR-174-Dill, SUKHJIT BAINS was convicted of the offenses of
       possession of a firearm and ammunition by a convicted felon and possession with
       intent to distribute metharnphetarnine; and


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       On or about March 28, 2017, in Jefferson Circuit Court, Jefferson County,
       Kentucky, in case number 16-CR-2284, SUKHJIT BAINS was convicted of the
       offenses of wanton endangerment in the first degree, tampering with physical
       evidence, and possession of a controlled substance in the first-degree
       methamphetamine (two counts).

       In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



The Grand Jury further charges:

                                          COUNTl0
                              (Distribution ofMethamphetamine)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, SUKHJIT BAINS, knowingly and intentionally distributed fifty (50) grams or more

of a mixture and substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, as defmed in Title 21, United States Code, Section 812.

       In violation of Title 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(B).



The Grand Jury further charges:

                                          COUNT 11
             (Possession of a Firearm in Furtherance ofa Drug Trafficking Crime)

       On or about December 12, 2024, in the Western District of Kentucky, Jefferson County,

Kentucky, SUKHJIT BAINS, did knowingly possess a firearm in furtherance of a drug trafficking

crime for which he may be prosecuted in a court of the United States.

       In violation of Title 18, United States Code, Section 924(c)(l)(A).




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The Grand Jury further charges:

                                         COUNT 12
                       (Possession ofa Firearm by a Prohibited Person)

       On or about January 10, 2025, in the Western District of Kentucky, Jefferson County,

Kentucky, CHRISTOPHER GARDNER, knowingly possessed, in and affecting commerce, a

firearm, that is, a Taurus TS9, 9 millimeter, semi-automatic pistol, bearing serial number

AEK750953; an Iver Johnson Arms, .30 caliber semi-automatic, short-barrel rifle bearing serial

number BA05782, and ammunition, with knowledge that he had previously been convicted in a

court of a crime punishable by imprisonment for a term exceeding one year, to wit:

       On or about December 5, 2018, in Jefferson Circuit Court, Jefferson County,
       Kentucky, in case number 18-CR-490, CHRISTOPHER GARDNER was
       convicted of the offense of convicted felon in possession of a handgun;

       On or about April 28, 2021, in Nelson Circuit Court, Nelson County, Kentucky, in
       case number 20-CR-227, CHRISTOPHER GARDNER was convicted of the
       offenses ofreceiving stolen property $10,000 or more, fleeing or evading police in
       the frrst degree motor vehicle, wanton endangerment in the frrst degree police
       officer (4 counts), criminal mischief in the first degree (3 counts), possession of
       controlled substance in the first degree methamphetamine; and

       On or about September 17, 2021, in Jefferson Circuit Court, Jefferson County,
       Kentucky, in case number 20-CR-590, CHRISTOPHER GARDNER was
       convicted of the offense of receiving stolen property under $10,000.

       In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



The Grand Jury further charges:

                                          COUNT 13
                            (Possession of an Unregistered Firearm)

       On or about January 10, 2025, in the Western District of Kentucky, Jefferson County,

Kentucky, CHRISTOPHER GARDNER, knowingly received and possessed a frrearm, that is:




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an Iver Johnson Arms, .30 caliber semi-automatic, sh011-barrel rifle bearing serial number

BA05782, not registered to him in the National Firearms Registration and Transfer Record.

       In violation of Title 26, United States Code, Sections 5841, 586l(d) and 5871.



                                         FORFEITURE

       As a result of committing offenses in violation of Title 18, United States Code, Sections

933(a)(l), 933(a)(3), 922(0), 922(g)(l), 924(a)(2), 924(a)(8), and Title 26, United States Code,

Sections 5841, 5861(d) and 5871 as alleged in this Superseding Indictment, felonies punishable

by imprisonment for more than one year, SUKHJIT BAINS, JONATHAN ERNSPIKER, and

CHRISTOPHER GARDNER shall forfeit to the United States, pursuant to Title 18, United

States Code, Sections 924(d) and 934, and Title 28, United States Code, Section 2461, all firearms

and ammunition involved in the commission of the offenses listed herein, and proceeds obtained

directly and indirectly from a violation of Title 18, United States Code, Section 933 and property

used and intended to be used, to commit violations of Section 933, including, but not limited to: a

 Smith and Wesson model M&P 9L, 9 millimeter semi-automatic pistol, bearing serial number

HNL4745; a Smith and Wesson model SD9VE, 9 millimeter semi-automatic pistol, bearing serial

 number HER2934; a Taurus model PT145 Pro, .45 caliber semi-automatic pistol, bearing serial

 number NFU74319; a Smith and Wesson model SW380, .380 auto semi-automatic pistol, bearing

 serial number RAB0402; a SCCY model CPX-2, 9 millimeter semi-automatic pistol, bearing serial

 number C216699; a Kahr model CW9, 9 millimeter semi-automatic pistol, bearing serial number

 YD6450; a Glock model 23, .40 caliber semi-automatic pistol, bearing serial number EDW632US;

 and DMPS model A-15, 5.56 caliber semi-automatic rifle, bearing serial number FH217837; a

 Diamondback model DB-15, multi-caliber semi-automatic rifle, bearing serial number DB-
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1814188; a Charter Anns model Pathfinder 22, 22LR revolver, bearing serial number 1104646; a

Smith and Wesson, model 10, .38 caliber revolver, bearing serial number 73228; a privately made,

3D printed semi-automatic pistol, bearing no markings or serial number; a Beretta model PX4

Storm, 9 millimeter semi-automatic pistol, bearing serial number PX0201N; a Taurus model G2C,

.40 caliber semi-automatic pistol, bearing serial number ABK0l 7972; a Ruger model LCP, .38

caliber semi-automatic pistol, bearing serial number 372350968; a Rock Island Annory model

1911, .45 caliber semi-automatic pistol, bearing serial number RIA2179788; a Ruger model LC9S,

9 millimeter semi-automatic pistol, bearing serial number 327-63052; a Smith and Wesson model

M&P 45 Shield, .45 caliber semi-automatic pistol, bearing serial number JBT6585; a privately

made .300 Blackout, semi-automatic rifle, bearing no serial numbers, equipped with a silencer; a

Del-Ton model DTI-15, 5. 56 millimeter semi-automatic pistol, bearing serial number B 90313; a

Cobray model M-11/Nine, 9 millimeter semi-automatic pistol, bearing serial number XX-XXXXXXX;

a Smith and Wesson model M&P 380 Shield EZ, .380 auto semi-automatic pistol, bearing serial

number NFV4228; a Glock model 43X, 9 millimeter semi-automatic pistol bearing serial number

BLYG103; a Glock model 45, 9 millimeter semi-automatic pistol, bearing serial number

 CAWG241; a 3D printed Glock type machine gun conversion device bearing no serial number; a

Taurus TS9, 9 millimeter, semi-automatic pistol, bearing serial number AEK750953; an Iver

 Johnson Arms, .30 caliber semi-automatic, short-barrel rifle bearing serial number BA05782 and

 ammunition.

        As a result of committing offenses in violation of Title 21, United States Code, Section

 841 (a)( 1) as charged in this Superseding Indictment, felonies punishable by imprisonment for

 more than one year, SUKHJIT BAINS and JONATHAN ERNSPIKER, shall forfeit to the

 United States, pursuant to Title 21, United States Code, Section 853, any and all property




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constituting, or derived from, proceeds the defendant obtained directly or indirectly, as a result of

said offense, and any and all of the defendant's property used, or intended to be used, in any

manner or part, to commit or to facilitate the commission of the violations alleged in this

Indictment, including but not limited to the property listed in the above paragraph.

                                              A TRUE BILL.




 MICHAEL A. BENNETT
 UNITED STATES ATTORNEY

 MAB:JRP 1/22/25




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UNITED STATES OP AMERICA v. SUKHJIT BAINS, JONATHAN ERNSPIKER and CHRISTOPHER GARDNER

                                                            PENALTIES

Counts 1, 7:           NM 15 yrs./$250,000/both/NM 3 yrs. Supervised Release (each count)
Count 2, 10:           NL 5 yrs./NM 40 yrs./$5,00,000/both/NL 8 yrs. Supervised Release (each count)
Counts 3, 4, 11:       NL 5 yrs./NM Life/$250,000/both/NM 5 yrs. Supervised Release (each count) (consecutive)
Counts 5, 6, 9:        NM 15 yrs./$250,000/both/NM 3 yrs. Supervised Release (each count)
Count 8:               NM 10 yrs./$250,000/both/NM 3 yrs. Supervised Release
Count 12:              NM 10 yrs./$10,000/botb/NM 3 yrs. Supervised Release
:Forfeiture

                                                                NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITUTION & COSTS.


SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11, 1984, as follows:

          Misdemeanor:              $ 25 per count/individual              :Felony:        $100 per count/individual
                                    $125 per count/other                                   $400 per count/other

PINES

In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pay fine as ordered may subject you to the following:

           1.      INTEREST and PENALTIES as applicable by law according to last date of offense.

                       For offenses occurring after December 12, 1987:

                       No INTEREST will accrue on fines under $2,500.00.

                       INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                       the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                       following the two week period after the date a fine is imposed.

                       PENALTIES of:

                        10% of fine balance if payment more than 30 days late.

                        15% of fine balance if payment more than 90 days late.

           2.          Recordation of a LIEN shall have the same force and effect as a tax lien.

           3.           Continuous GARNISHMENT may apply until your fine is paid.

           18 u.s.c. §§ 3612, 3613

                        If you Wll,LFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE
                        ofnot more than the greater of $10,000 or twice the unpaid balance ofthe fine; or
                        IMPRISONMENT fornot more than 1 year or both. 18 U.S.C. § 3615
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RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim ofthe offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663

APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

          1.         That you deposit the entire fine amount (or the amount due under an installment schedule
                     during the time ofyour appeal) in an escrow account with the U.S. District Court Clerk, or

          2.         Give bond for payment thereof.

          18 U.S.C. § 3572(g)

PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                     LOUISVILLE:                      Clerk, U.S. District Court
                                                      106 Gene Snyder U.S. Courthouse
                                                      601 West Broadway
                                                      Louisville, KY 40202
                                                      502/625-3500

                     BOWLING GREEN:                   Clerk, U.S. District Court
                                                      120 Federal Building
                                                      241 East Main Street
                                                      Bowling Green, KY 42101
                                                      270/393-2500

                     OWENSBORO:                       Clerk, U.S. District Court
                                                      126 Federal Building
                                                      423 Frederica
                                                      Owensboro, KY 42301
                                                      270/689-4400

                     PADUCAH:                         Clerk, U.S. District Court
                                                      127 Federal Building
                                                      501 Broadway
                                                      Paducah, KY 42001
                                                      270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
